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                                          February 21, 2025

                                          JOINT LETTER

 Filed Via ECF

 Honorable Nina Morrison
 United States District Court, Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

        In Re:          Carl T. Semencic v The County of Nassau, et al
                        18-CV-5244-GRB-AYS

 Your Honor:

        Please consider this correspondence the Joint Letter required by Order dated and filed
 February 20, 2025.

        Case Summary. Plaintiff’s counsel agrees to the summary of the case to be read to
 potential jurors at the start of voir dire as drafted by the Court and discussed during the pre-trial
 conference held on February 19, 2025. Defense counsel intends to submit their own summary
 under separate cover.

        Additional Potential Witnesses / Other Names To Be Read. There are no additional
 potential witnesses or other individuals whose names should be read to the jury during voir dire.

         Elements of Criminal Offenses Plaintiff With Which Plaintiff Was Charged.
 Following his arrest on July 19, 2016, Mr. Semencic was charged with the crimes of Menacing
 in the Second Degree (in violation of NY Penal Law § 120.14(1)) and Criminal Possession of a
 Weapon in the Fourth Degree (in violation of NY Penal Law § 265.01(2)).

         Under NY Penal Law § 120.14(1), a person is guilty of Menacing in the Second Degree
 when he intentionally places or attempts to place another person in reasonable fear of physical
 injury, serious physical injury or death by displaying a deadly weapon, dangerous instrument or
 what appears to be a pistol, revolver, shotgun, machine gun or other firearm.

         Under NY Penal Law § 265.01(2), a person is guilty of Criminal Possession of a Weapon
 in the Fourth Degree when that person knowingly possesses any dagger, dangerous knife, dirk,
 razor, stiletto, imitation pistol, or any other dangerous or deadly instrument or weapon with
 intent to use the same unlawfully against another. Counsel agree that the above are in fact the
 elements of the crime. Although the statute is silent on the point, it is now accepted that to
 establish criminal possession of a handgun the People must prove that the weapon is operable.
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 People v Longshore, 86 NY2d 851, 852 [1995]. In Mr. Semencic’s case, the State Court
 dismissed this count because operability of the pistol was not proven.




                                    Respectfully Submitted,



    LAW OFFICE OF                                        THOMAS A. ADAMS
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